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                                                                   APPEAL,CLOSED,PROSE−NP,TYPE−F
                                   U.S. District Court
                        District of Columbia (Washington, DC)
                  CIVIL DOCKET FOR CASE #: 1:20−cv−00104−CRC

PAGE v. TRUMP et al                                               Date Filed: 01/15/2020
Assigned to: Judge Christopher R. Cooper                          Date Terminated: 01/29/2021
Case in other court: 21−05038                                     Jury Demand: None
Cause: 28:1983 Civil Rights                                       Nature of Suit: 441 Voting
                                                                  Jurisdiction: U.S. Government Defendant
Plaintiff
JOHN H. PAGE                                       represented by JOHN H. PAGE
                                                                  1077 30th Street NW
                                                                  Apartment 411
                                                                  Washington, DC 20007
                                                                  202−352−6952
                                                                  Email: john.h.page@gmail.com
                                                                  PRO SE


V.
Defendant
DONALD J. TRUMP                                    represented by Brian J. Field
In his official capacity as President of the                      U.S. ATTORNEY'S OFFICE FOR THE
United States                                                     DISTRICT OF COLUMBIA
                                                                  555 Fourth Street, NW
                                                                  Washington, DC 20530
                                                                  (202) 252−2551
                                                                  Fax: (202) 234−2806
                                                                  Email: brian.field@usdoj.gov
                                                                  LEAD ATTORNEY
                                                                  ATTORNEY TO BE NOTICED


 Date Filed       #   Page Docket Text
 01/15/2020       1          COMPLAINT against DONALD J. TRUMP ( Filing fee $ 400, receipt number
                             4616102087) with Jury Demand filed by JOHN H. PAGE. (Attachments: # 1
                             Civil Cover Sheet)(ztd) (Entered: 01/22/2020)
 01/15/2020                  SUMMONS (3) Issued as to DONALD J. TRUMP, U.S. Attorney and U.S.
                             Attorney General (ztd) (Entered: 01/22/2020)
 01/21/2020       2          MOTION for CM/ECF Password by JOHN H. PAGE (ztd) (Entered:
                             01/24/2020)
 01/28/2020                  MINUTE ORDER denying without prejudice Plaintiff's 2 Motion for CM/ECF
                             Password. Plaintiff's motion failed to comply with the requirements of Local
                             Rule 5.4(b)(2), a link to which can be found on the Court's website. Plaintiff
                             may refile the motion in compliance with the Local Rules. Signed by Judge

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                    Christopher R. Cooper on 01/28/2020. (lccrc3) (Entered: 01/28/2020)
02/05/2020   3      RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    DONALD J. TRUMP served on 1/27/2020, RETURN OF
                    SERVICE/AFFIDAVIT of Summons and Complaint Executed on United States
                    Attorney General. Date of Service Upon United States Attorney General
                    1/21/20., RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint
                    Executed as to the United States Attorney. Date of Service Upon United States
                    Attorney on 1/22/2020. ( Answer due for ALL FEDERAL DEFENDANTS by
                    3/22/2020.) (ztd) (Entered: 02/06/2020)
02/05/2020   4      MOTION for CM/ECF Password by JOHN H. PAGE (ztd) (Entered:
                    02/06/2020)
02/06/2020          MINUTE ORDER granting Plaintiff's 4 Motion for CM/ECF Password. The
                    Court expects all electronic filings by pro se litigants to comply with the Court's
                    Local Rules. Signed by Judge Christopher R. Cooper on 02/06/2020. (lccrc3)
                    (Entered: 02/06/2020)
02/21/2020   5      AFFIDAVIT re 3 Summons Returned Executed as to Federal Defendant,,
                    Summons Returned Executed as to U.S. Attorney General,, Summons Returned
                    Executed as to US Attorney, by JOHN H. PAGE. (ztd) (Entered: 02/25/2020)
03/19/2020   6      MOTION for Extension of Time to File Answer re 1 Complaint by DONALD
                    J. TRUMP (Field, Brian) (Entered: 03/19/2020)
03/23/2020          MINUTE ORDER granting Defendant's 6 Motion for Extension of Time to
                    Answer. The Defendant is hereby ORDERED to file its answer on or before
                    April 22, 2020. Signed by Judge Christopher R. Cooper on 03/23/2020. (lccrc3)
                    (Entered: 03/23/2020)
04/21/2020   7      MOTION for Extension of Time to Respond to Complaint by DONALD J.
                    TRUMP (Attachments: # 1 Exhibit)(Field, Brian) (Entered: 04/21/2020)
04/21/2020          MINUTE ORDER granting Defendant's 7 Motion for Extension of Time to
                    Answer. The Defendant is hereby ORDERED to file its answer on or before
                    May 8, 2020. Signed by Judge Christopher R. Cooper on 04/21/2020. (lccrc3)
                    (Entered: 04/21/2020)
04/23/2020          Set/Reset Deadlines: Answer due by 5/8/2020 (lsj) (Entered: 04/23/2020)
05/08/2020    8     MOTION to Dismiss by DONALD J. TRUMP (Attachments: # 1 Memorandum
                    in Support)(Field, Brian) (Entered: 05/08/2020)
05/08/2020    9     ORDER advising Plaintiff to respond by May 22, 2020 to 8 Defendant's Motion
                    to Dismiss, or the Court may deem matter as conceded. See full Order for
                    details. Signed by Judge Christopher R. Cooper on 05/08/2020. (lccrc3)
                    (Entered: 05/08/2020)
05/08/2020          Set/Reset Deadlines: Response to Dispositive Motions due by 5/22/2020. (lsj)
                    (Entered: 05/08/2020)
05/18/2020   10     Memorandum in opposition to re 8 MOTION to Dismiss filed by JOHN H.
                    PAGE. (Attachments: # 1 Memorandum in Support)(PAGE, JOHN) (Entered:
                    05/18/2020)
05/20/2020   11

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                    MOTION for Summary Judgment by JOHN H. PAGE (Attachments: # 1
                    Memorandum in Support)(PAGE, JOHN) (Entered: 05/20/2020)
05/21/2020   12     MOTION for Extension of Time to File Response/Reply as to 8 MOTION to
                    Dismiss , MOTION to Stay obligation to respond to Plaintiff's summary
                    judgment motion by DONALD J. TRUMP (Field, Brian) (Entered: 05/21/2020)
05/21/2020   13     RESPONSE re 12 MOTION for Extension of Time to File Response/Reply as
                    to 8 MOTION to Dismiss MOTION to Stay obligation to respond to Plaintiff's
                    summary judgment motion PLAINTIFFS OPPOSITION TO DEFENDANTS
                    MOTION FOR EXTENSION OF TIME AND TO STAY OBLIGATION TO
                    RESPOND TO SUMMARY JUDGMENT MOTION filed by JOHN H. PAGE.
                    (PAGE, JOHN) (Entered: 05/21/2020)
05/22/2020   14     SUPPLEMENTAL MEMORANDUM to re 11 MOTION for Summary
                    Judgment PLAINTIFFS ADDENDUM TO MOTION FOR SUMMARY
                    JUDGMENT filed by JOHN H. PAGE. (PAGE, JOHN) (Entered: 05/22/2020)
05/22/2020          MINUTE ORDER granting Defendant's 12 Motion for Extension of Time to
                    File Reply and to Stay Summary Judgment Briefing. It is hereby ORDERED
                    that Defendant's reply in support of its 8 Motion to Dismiss shall be filed on or
                    before June 9, 2020. It is further ORDERED that summary judgment briefing is
                    stayed until after the Court resolves the pending motion to dismiss. Signed by
                    Judge Christopher R. Cooper on 05/22/2020. (lccrc3) (Entered: 05/22/2020)
06/09/2020   15     REPLY to opposition to motion re 8 MOTION to Dismiss filed by DONALD J.
                    TRUMP. (Field, Brian) (Entered: 06/09/2020)
06/14/2020   16     ENTERED IN ERROR. . . . .RESPONSE re 8 MOTION to Dismiss
                    PLAINTIFFS REPLY IN SUPPORT OF OPPOSITION TO DEFENDANTS
                    MOTION TO DISMISS filed by JOHN H. PAGE. (PAGE, JOHN) Modified on
                    6/16/2020 (ztd). (Entered: 06/15/2020)
06/14/2020          NOTICE OF CORRECTED DOCKET ENTRY: re 16 Response to motion was
                    entered in error and said pleading has been added to docket entry no. 17
                    pending leave of Court. (ztd) (Entered: 06/16/2020)
06/15/2020   17     First MOTION for Leave to File SURREPLY TO DEFENDANTS REPLY IN
                    SUPPORT OF MOTION TO DISMISS by JOHN H. PAGE (PAGE, JOHN)
                    (Additional attachment(s) added on 6/16/2020: # 1 Surreply) (ztd). (Entered:
                    06/15/2020)
06/29/2020   18     Memorandum in opposition to re 17 First MOTION for Leave to File
                    SURREPLY TO DEFENDANTS REPLY IN SUPPORT OF MOTION TO
                    DISMISS filed by DONALD J. TRUMP. (Field, Brian) (Entered: 06/29/2020)
07/06/2020   19     ENTERED IN ERROR. . . . .REPLY to opposition to motion re 17 First
                    MOTION for Leave to File SURREPLY TO DEFENDANTS REPLY IN
                    SUPPORT OF MOTION TO DISMISS PLAINTIFFS RESPONSE TO
                    DEFENDANTS OPPOSITION TO PLAINTIFFS MOTION FOR LEAVE TO
                    FILE A SURREPLY filed by JOHN H. PAGE. (PAGE, JOHN) Modified on
                    7/7/2020 (ztd). (Entered: 07/06/2020)
07/07/2020          NOTICE OF ERROR re 19 Reply to opposition to Motion; emailed to
                    john.h.page@gmail.com, cc'd 3 associated attorneys −− The PDF file you
                    docketed contained errors: 1. Please refile document, 2. The Court is unable to

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                    view this document. Refile in pdf format only. (ztd, ) (Entered: 07/07/2020)
08/12/2020   20     NOTICE OF SUPPLEMENTAL AUTHORITY by JOHN H. PAGE (PAGE,
                    JOHN) (Entered: 08/12/2020)
01/29/2021   21     ORDER granting 8 Defendant's Motion to Dismiss; denying 11 Plaintiff's
                    Motion for Summary Judgment; granting 17 Plaintiff's Motion for Leave to File
                    Surreply. See full order for details. Signed by Judge Christopher R. Cooper on
                    01/29/2021. (lccrc3) (Entered: 01/29/2021)
01/29/2021   22     MEMORANDUM OPINION re: 21 order granting 8 Defendant's Motion to
                    Dismiss; denying 11 Plaintiff's Motion for Summary Judgment; granting 17
                    Plaintiff's Motion for Leave to File Surreply. Signed by Judge Christopher R.
                    Cooper on 01/29/2021. (lccrc3) (Entered: 01/29/2021)
02/14/2021   23     MOTION for Reconsideration Opinion and order of 1/29/2021, First MOTION
                    to Alter Judgment Opinion and order of 1/29/2021, MOTION to Vacate
                    Opinion and order of 1/29/2021, by JOHN H. PAGE. (Attachments: # 1 Text of
                    Proposed Order Text of Proposed Order)(PAGE, JOHN) Modified event and
                    text on 2/16/2021 (ztd). (Entered: 02/14/2021)
02/16/2021   24     NOTICE of Appeal by JOHN H. PAGE (PAGE, JOHN) (Entered: 02/16/2021)
02/16/2021   25     NOTICE OF APPEAL as to 22 Memorandum & Opinion, 21 Order on Motion
                    to Dismiss,, Order on Motion for Summary Judgment,, Order on Motion for
                    Leave to File, by JOHN H. PAGE. Fee Status: No Fee Paid. Parties have been
                    notified. (ztd); (See Docket Entry No. 24 to view.) (Entered: 02/16/2021)
02/16/2021   26     Transmission of the Notice of Appeal, Order Appealed (Memorandum
                    Opinion), and Docket Sheet to US Court of Appeals. The fee remains to be paid
                    and another notice will be transmitted when the fee has been paid in the District
                    Court re 25 Notice of Appeal,. (ztd) (Entered: 02/16/2021)
02/17/2021   27     ERRATA by JOHN H. PAGE re 23 MOTION for ReconsiderationFirst
                    MOTION to Alter Judgment Opinion and order of 1/29/2021MOTION to
                    Vacate (PAGE, JOHN) Modified text on 2/18/2021 (ztd). (Entered: 02/17/2021)
02/19/2021          MINUTE ORDER: Upon consideration of 23 Plaintiff's Motion for
                    Reconsideration, the Motion is hereby DENIED.

                    Plaintiff moves under Federal Rules of Civil Procedure 59(e) and 60 to alter,
                    amend, or vacate the Court's 21 Order dismissing this case. "A Rule 59(e)
                    motion is discretionary and need not be granted unless the district court finds
                    that there is an intervening change of controlling law, the availability of new
                    evidence, or the need to correct a clear error or prevent manifest injustice."
                    Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996) (internal quotation
                    marks omitted). "A Rule 59(e) motion is not a second opportunity to present
                    argument upon which the Court has already ruled, nor is it a means to bring
                    before the Court theories or arguments that could have been advanced earlier."
                    W.C. & A.N. Miller Cos. v. United States, 173 F.R.D. 1, 3 (D.D.C. 1997). Nor
                    does "[m]ere disagreement" support reconsideration under Rule 59(e). Smith v.
                    Lynch, 115 F. Supp. 3d 5, 12 (D.D.C. 2015) (quoting United States ex rel.
                    Becker v. Westinghouse Savannah River Co., 305 F.3d 284, 290 (4th Cir.
                    2002)).



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                    The standards for reconsideration under the relevant provisions of Rule 60 are
                    even more stringent. Rule 60(b)(6) authorizes the Court to vacate a final
                    judgment only under "extraordinary circumstances." Kramer v. Gates, 481 F.3d
                    788, 790 (D.C. Cir. 2007). "[E]rror alone is not sufficient to warrant
                    reconsideration" under Rule 60(b)(6). Shearill v. Peter N.G. Schwartz Mgmt.
                    Co., 325 F.R.D. 28, 30 (D.D.C. 2018). And while Rule 60(b)(1) contemplates
                    relief based on a "mistake," that provision "generally does not allow
                    reconsideration of legal mistakes; it is reserved for the very limited situation
                    when the controlling law of the circuit changed between the time of the court's
                    judgment and the Rule 60 motion." Shearill, 325 F.R.D. at 30 n.1 (internal
                    quotation marks omitted).

                    The Court has carefully considered Plaintiff's Motion and finds that it does not
                    meet the standards for reconsideration under Rules 59(e) and 60. Each of
                    Plaintiff's arguments either was made or could have been made before final
                    judgment. These arguments fail to demonstrate clear error, a change in
                    controlling law, or other extraordinary circumstances. While Plaintiff expresses
                    disagreement with the Court's analysis, the appropriate recourse for this
                    disagreement is an appeal to the D.C. Circuit, not a motion for reconsideration.

                    So Ordered. Signed by Judge Christopher R. Cooper on 02/19/2021. (lccrc3)
                    (Entered: 02/19/2021)
02/19/2021          USCA Case Number 21−5038 for 25 Notice of Appeal, filed by JOHN H.
                    PAGE. (ztd) (Entered: 02/24/2021)
02/24/2021          USCA Appeal Fees received $ 505 receipt number 4616105116 re 25 Notice of
                    Appeal, filed by JOHN H. PAGE (ztd) (Entered: 03/02/2021)




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MIME−Version:1.0
From:DCD_ECFNotice@dcd.uscourts.gov
To:DCD_ECFNotice@localhost.localdomain
Bcc:
−−Case Participants: Brian J. Field (brian.field@usdoj.gov, caseview.ecf@usdoj.gov,
joseph.finnigan@usdoj.gov), JOHN H. PAGE (john.h.page@gmail.com), Judge Christopher R.
Cooper (crc_dcdecf@dcd.uscourts.gov, lauren_jenkins@dcd.uscourts.gov,
nicole_bell−norwood@dcd.uscourts.gov)
−−Non Case Participants: Clerk of Court, US Court of Appeals (dcnoa@cadc.uscourts.gov)
−−No Notice Sent:

Message−Id:6998296@dcd.uscourts.gov
Subject:Activity in Case 1:20−cv−00104−CRC PAGE v. TRUMP et al USCA Appeal Fees
Content−Type: text/html

                                           U.S. District Court

                                           District of Columbia

Notice of Electronic Filing


The following transaction was entered on 3/2/2021 at 7:53 PM EDT and filed on 2/24/2021

Case Name:       PAGE v. TRUMP et al
Case Number:     1:20−cv−00104−CRC
Filer:
WARNING: CASE CLOSED on
01/29/2021
Document Number: No document attached
Docket Text:
USCA Appeal Fees received $ 505 receipt number 4616105116 re [25] Notice of Appeal, filed
by JOHN H. PAGE (ztd)


1:20−cv−00104−CRC Notice has been electronically mailed to:

Brian J. Field   brian.field@usdoj.gov, CaseView.ECF@usdoj.gov, joseph.finnigan@usdoj.gov

JOHN H. PAGE       john.h.page@gmail.com

1:20−cv−00104−CRC Notice will be delivered by other means to::




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